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United States Courts

David Lee Daniels III Southern District of Texas

: FILED
1084 Decker Drive, Fate, Texas [[75189]] AUG 0 8 2023
(469)818-4560 Nathan Ochsner, Clerk of Court

ddaniels.science1@gmail.com

Piaintiff/Appellant

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF TEXAS HOUSTON DIVISION

x
DAVID LEE DANIELS, Il,
Plaintiff,

_ Civil Action No. 4:22-cv-00199

vs.
PENNYMAC LOAN SERVICES, LLC, et al.,

Defendants.

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NOTICE

Notice to the Courts, Plaintiff/Appellant David Lee Daniels III change of mailing
address. Please forward or send all correspondence to 1084 Decker Drive, Fate, Texas

I 75189 J}. The said mailing address is Plaintiff/Appellant's best known mailing address.

Genuinely,

LC,

Plaintiff, David Lee Daniels: x ./ —¢

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Fate, Texas [[75189]]

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